Case 2:20-cr-01344 Document 15 Filed on 12/09/20 in TXSD Page 1 of 2

United States Courts
Southern Distrist of Tees
FILED

UNITED STATES DISTRICT COURT
DEC OS 2020.

David J, Bradley, Clerk of Court

SOUTHERN DISTRICT OF TEXAS
CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA

§
§
v. § CRIMINAL NUMBER
.
JHONATAN DIAZ-CASTILLO § |
JEWELL WILKINSON § C- 20 -1 3 4 4
INDICTMENT .
THE GRAND JURY CHARGES THAT:
COUNT ONE

On or about November 19, 2020, in the Corpus Christi Division of the Southern District
of Texas and elsewhere within the jurisdiction of the Court, the defendants,

JHONATAN DIAZ-CASTILLO
and JEWELL WILKINSON,

knowingly and in reckless disregard of the fact that aliens had come to, entered, and remained in
the United States in violation of law, did knowingly and intentionally conspire and agree
together, with each other, and with other persons known and unknown to the Grand Jury, to
transport, move, attempt to transport, and attempt to move said aliens within the United States in
- furtherance of such violation of law by means of a motor vehicle.
In violation of Title 8, United States Code, Sections 1324(a)(1)(A)(ii),
— :1324(a)()(A)(v)), and 1324(a)(1)(B)@).
COUNT TWO

On or about November 19, 2020, in the Corpus Christi Division of the Southern District of

Texas and elsewhere within the jurisdiction of the Court, the defendants,

JHONATAN DIAZ-CASTILLO
and JEWELL WILKINSON,

Case 2:20-cr-01344 Document 15 Filed on 12/09/20 in TXSD Page 2 of 2

and other persons known and ‘unknown to the Grand Jury, each aiding, abetting, and assisting one
-another, did knowingly and in reckless disregard of the fact that Donaldo Abisai Vasquez-Orozco,

was an alien who had come to, entered, and remained in the United States in violation of law,

' transport, move, attempt to transport, and attempt to move said alien within the United States in

. furtherance of such violation of law by means of a motor vehicle.

In violation of Title 8, United States Code, Sections 1324(a)(1)(A)Gi), 1324(a)(1)(A)(v) dD,
1324(a)(1)(B)(ii), and Title 18, United States Code, Section 2(a).

COUNT THREE

On or about November 19, 2020, in the Corpus Christi Division of the Southern District
of Texas and elsewhere within the jurisdiction of the Court, the defendants,

JHONATAN DIAZ-CASTILLO
and JEWELL WILKINSON,

and other persons known and unknown to the Grand Jury, each aiding, abetting, and assisting one

“another, did knowingly and in reckless disregard of the fact that Simon Zuniga-Marin was an alien

who had come to, entered, and remained in the United States in violation of law, transport, move,
attempt to transport, and attempt to move said alien within the United States in furtherance of such
violation of law by means of a motor vehicle.

In violation of Title 8, United States Code, Sections 1324(a)(1)(A)Gi), 1324(a)(1)(A)()dD,

1324(a)(1)(B) Gi), and Title 18, United States Code, Section 2(a).

"A ‘TRUE BILL:
_ ORIGINAL SIGNATURE ON FILE
FOREPERSON OF THE GRAND JURY

RYAN K. PATRICK
UNITED STATES ATTORNEY

y Gea ST

DENNIS ROBINSON
Assistant United States Attorney

